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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                      CONDITIONAL TRANSFER ORDER (CTO −118)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,806 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      John W. Nichols
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                  MDL No. 2804



                   SCHEDULE CTO−118 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.      CASE CAPTION


KENTUCKY WESTERN

                                   Bowling Green−Warren County Community Hospital
 KYW          1      19−00148      Corporation et al v. Purdue Pharma L.P., et al.

MASSACHUSETTS

                                   Town of Andover v. Teva Pharmaceuticals USA Inc et
  MA          1      19−12117      al

NEW HAMPSHIRE

                                   Coos County et al v. Teva Pharmaceuticals USA, Inc. et
  NH          1      19−01095      al
  NH          1      19−01097      Carroll County v. Teva Pharmaceuticals USA, Inc. et al

PENNSYLVANIA MIDDLE

                                   West Pittston, Pennsylvania v. The Purdue Frederick
 PAM          3      19−01780      Company, Inc., et al

TENNESSEE MIDDLE

 TNM          3      19−00885      Rhodes et al v. Rhodes Technologies, Inc. et al
